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2    Folsom, CA 95630
     Telephone: 916-732-7150
3
     Attorneys for Defendant
4    David Navarro
5
6                                IN THE UNITED STATES DISTRICT COURT
7                           FOR THE EASTERN DISTRICT OF CALIFORNIA
8
9                                                     ) Case No.: 2:08 CR 00392 GEB
     UNITED STATES OF AMERICA,                        )
10                                                    ) STIPULATION AND ORDER
                    Plaintiff,                        ) CONTINUING SENTENCING
11                                                    )
            v.                                        )
12                                                    )
     DAVID REYES NAVARRO,                             )
13                                                    )
                    Defendant.                        )
14
            Defendant DAVID REYES NAVARRO, by and through his attorney, Michael Chastaine
15
     and the United States, by and through Assistant United States Attorney Michael Beckwith,
16
     hereby stipulate and agree to continue the sentencing hearing in the above-captioned case from
17
     Friday, March 18, 2011 at 9:00 a.m. to Friday, August 26, 2011 at 9:00 a.m. The continuance is
18
     requested because the co-defendants have not yet resolved their cases. Mr. Navarro should not
19
     be sentenced until it is determined if any of the co-defendants will go to jury trial.
20
     Dated: February 24, 2011                       The CHASTAINE LAW OFFICE
21
                                                    By: ____/s/ Michael Chastaine
22                                                         MICHAEL CHASTAINE
23                                                         Attorney for David Reyes Navarro

24   Dated: February 24, 2011                       LAWRENCE BROWN
                                                    Acting United States Attorney
25
26                                                  By: ___/s/ Michael Beckwith
                                                           Michael Beckwith
27                                                         Assistant U.S. Attorney
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1
2                                                            ORDER

3                          GOOD CAUSE APPEARING, in that it is the stipulation of the parties:

4                          IT IS HEREBY ORDERED that the status conference scheduled for Friday, March 18,

5    2011 at 9:00 a.m. be continued to Friday, August 26, 2011 at 9:00 a.m. and that the period from

6    March 18, 2011 to August 26, 2011 is excludable from calculation under the Speedy Trial Act

7    pursuant to 18 U.S.C. §3161(h)(8)(A).

8    Date: 2/25/2011

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                                                                     _________________________
10                                                                   GARLAND E. BURRELL, JR.
                                                                     United States District Judge
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     DEAC_Signature-END:




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